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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

    In re:                                   Chapter 11

    HIGHLAND CAPITAL                         Case No. 19-34054-sgj11
    MANAGEMENT, L.P.,1



1
       The Reorganized Debtor’s last four digits of its taxpayer identification
number are 6725. The headquarters and service address for the Reorganized Debtor
is 100 Crescent Court, Suite 1850; Dallas, Texas 75201.


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             Reorganized Debtor.



NEXPOINT ADVISORS, L.P.,                     Case No. 3:21-cv-03086-K

                       Appellant.            consolidated with:

v.                                           Case No. 3:21-cv-03088-K
                                             Case No. 3:21-cv-03094-K
PACHULSKI STANG ZIEHL &                      Case No. 3:21-cv-03096-K
JONES LLP; WILMER CUTLER                     Case No. 3:21-cv-03104-K
PICKERING HALE AND DORR
LLP; SIDLEY AUSTIN LLP; FTI
CONSULTING, INC.; AND TENEO
CAPITAL, LLC,

                       Appellees.


     APPELLANT NEXPOINT ADVISORS, L.P.’S DESIGNATION OF
     ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL AND
            STATEMENT OF ISSUES TO BE PRESENTED

      Appellant NexPoint Advisors, L.P. (the “Appellant” or “NexPoint”),

pursuant to Rule 6(b)(2)(B) of the Federal Rules of Appellate Procedure, hereby files

the following Designation of Items to Be Included in the Record on Appeal and

Statement of Issues to Be Presented in the above-captioned consolidated bankruptcy

appeal (Lead Case No. 3:21-cv-03086-K, consolidated with Case Nos. 3:21-cv-

03088-K, 3:21-cv-03094-K, 3:21-cv-03096-K, and 3:21-cv-03104-K), and

respectfully requests that the District Clerk prepare and transmit the record to the




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Circuit Clerk of the United States Court of Appeals for the Fifth Circuit for the

appeal (Case No. 22-10575).

               DESIGNATION OF ITEMS TO BE INCLUDED
                     IN THE RECORD ON APPEAL

      1.    Docket Sheet for District Case No. 3:21-cv-03086-K.

      2.    Each of the additional documents and items designated below (as

described in the Docket Sheet for District Case No. 3:21-cv-03086-K):

 Designation Docket
                           Date                     Description
     No.      No.
      1           1      12/10/21 Pursuant to Fed. R. Bankr. P. 8003(d), the
                                  bankruptcy clerk has transmitted the notice
                                  of appeal filed in bankruptcy case number
                                  19-34054 and the notice of appeal has now
                                  been docketed in the district court in case
                                  3:21-cv-3086. (The filing fee has been paid
                                  in the Bankruptcy Court.) Pursuant to Fed.
                                  R. Bankr. P. 8009, before the record on
                                  appeal can be assembled and filed in the
                                  district court, designations of items to be
                                  included in the record on appeal and
                                  statements of issues must be filed in the
                                  bankruptcy case. If a sealed document is
                                  designated, the designating party must file a
                                  motion in the district court case for the
                                  document to be accepted under seal. See
                                  also District Court Local Bankruptcy Rule
                                  8012.1. Unless exempted, attorneys who are
                                  not admitted to practice in the Northern
                                  District of Texas must seek admission
                                  promptly. Forms and Instructions found at
                                  www.txnd.uscourts.gov, or by clicking here:
                                  Attorney Information - Bar Membership. If


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                                  admission requirements are not satisfied
                                  within 21 days, the clerk will notify the
                                  presiding judge. (Attachments: # 1 Notice of
                                  appeal and supporting documents)
                                  (Whitaker - TXNB, Sheniqua) (Entered:
                                  12/10/2021)
     2          4      12/17/21   CERTIFICATE OF INTERESTED
                                  PERSONS/DISCLOSURE STATEMENT
                                  by NextPoint Advisors LP. (Jain, Kristin)
                                  (Entered: 12/17/2021)
     3          7      01/07/22   Unopposed Motion to Consolidate Appeals
                                  and to Establish Procedures for
                                  Consolidation of the Record on Appeal and
                                  Briefing filed by NextPoint Advisors LP.
                                  (Attachments: # 1 Proposed Order Granting
                                  Appellant NexPoint Advisors, L.P.'s
                                  Unopposed Motion to Consolidate Appeals
                                  and to Establish Procedures for
                                  Consolidation of the Record on Appeal and
                                  Briefing) (Schwartz, Samuel) Modified title
                                  on 1/10/2022 (ygl). (Entered: 01/07/2022)
     4          8      01/11/22   ORDER CONSOLIDATING CASES:
                                  Member case(s) 3:21-CV-3088, 3:21-CV-
                                  3094, 3:21-CV-3096, 3:21-CV-3104
                                  consolidated with lead case 3:21-CV-3086-
                                  K. Wilmer Cutler Pickering Hale and Dorr
                                  LLP, Teneo Capital LLC, Sidley Austin
                                  LLP and FTI Consulting Inc, added to case
                                  pursuant to consolidation. (Ordered by
                                  Judge Ed Kinkeade on 1/11/2022) (ygl)
                                  (Entered: 01/11/2022)
     5          9      01/11/22   ORDER: Before the Court is Appellant
                                  NexPoint Advisors, L.P.'s Unopposed
                                  Motion to Consolidate Appeals and to
                                  Establish Procedures for Consolidation of
                                  the Record on Appeal and Briefing (the
                                  "Motion") (Doc. No. 7). The Court reviewed
                                  and considered the Motion, the Certificate
                                  of Conference attached to the Motion, and


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                                other pleadings and papers in the record of
                                the Bankruptcy Case and the Appeals, of
                                which the Court takes judicial notice under
                                Fed. R. Evid. 201 and 1101. The Motion is
                                GRANTED IN PART AND DENIED IN
                                PART. The Court has previously
                                consolidated the cases. The Court DENIES
                                WITHOUT PREJUDICE to refiling the
                                parties' requested page extensions for their
                                respective appellate briefs; parties may later
                                motion the Court for any necessary page
                                extensions should the need arise. The
                                Motion is otherwise GRANTED in the
                                following respects. (See Order for
                                Specifics.) (Ordered by Judge Ed Kinkeade
                                on 1/11/2022) (chmb) (Entered: 01/11/2022)
     6          14     01/17/22 MOTION to Dismiss for Lack of
                                Jurisdiction (Appellees' Joint Motion to
                                Dismiss Appeal as Constitutionally Moot)
                                filed by FTI Consulting Inc, Pachulski Stang
                                Ziehl & Jones LLP, Sidley Austin LLP,
                                Teneo Capital LLC, Wilmer Cutler
                                Pickering Hale and Dorr LLP (Annable,
                                Zachery) (Entered: 01/17/2022)
     7          24     01/24/22 RESPONSE/OBJECTION filed by
                                NextPoint Advisors LP re: 14 (Appellees'
                                Joint Motion to Dismiss Appeal as
                                Constitutionally Moot) (Schwartz, Samuel)
                                Modified text on 1/25/2022 (ygl). (Entered:
                                01/24/2022)
     8          25     01/24/22 Appendix in Support filed by NextPoint
                                Advisors LP re 24 Response/Objection
                                (Attachments: # 1 Exhibit(s) A - Final
                                Applications for Compensation and
                                Reimbursement of Expenses - Transcript of
                                Proceedings Before the Honorable Stacey
                                G.C. Jernigan, United States Bankruptcy
                                Judge (November 17, 2021)) (Schwartz,
                                Samuel) (Entered: 01/24/2022)


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     9          26     01/31/22 REPLY filed by FTI Consulting Inc,
                                Pachulski Stang Ziehl & Jones LLP, Sidley
                                Austin LLP, Teneo Capital LLC, Wilmer
                                Cutler Pickering Hale and Dorr LLP re: 14
                                MOTION to Dismiss for Lack of
                                Jurisdiction (Appellees' Joint Motion to
                                Dismiss Appeal as Constitutionally Moot)
                                (Annable, Zachery) (Entered: 01/31/2022)
    10          30     02/10/22 MOTION for Leave to File Opening Brief
                                in Excess of Page and Type-Volume
                                Limitations of Federal Rule of Bankruptcy
                                Procedure 8015(a)(7) filed by NextPoint
                                Advisors LP with Brief/Memorandum in
                                Support. (Attachments: # 1 Exhibit(s) 1 -
                                Proposed Order) (Schwartz, Samuel)
                                (Entered: 02/10/2022)
    11          31     03/15/22 Notice Transmitting COMPLETE BK
                                Record on Appeal re 1 Notice Transmitting
                                BK Appeal or Withdrawal of Reference.
                                (Attachments: # 1 Mini Record Vol. 1, # 2
                                Appellant Record Vol. 2, # 3 Appellant
                                Record Vol. 3, # 4 Appellant Record Vol. 4,
                                # 5 Appellant Record Vol. 5, # 6 Appellant
                                Record Vol. 6, # 7 Appellant Record Vol. 7,
                                # 8 Appellant Record Vol. 8, # 9 Appellant
                                Record Vol. 9, # 10 Appellant Record Vol.
                                10, # 11 Appellant Record Vol. 11, # 12
                                Appellant Record Vol. 12, # 13 Appellant
                                Record Vol. 13, # 14 Appellant Record Vol.
                                14, # 15 Appellant Record Vol. 15, # 16
                                Appellant Record Vol. 16, # 17 Appellant
                                Record Vol. 17, # 18 Appellant Record Vol.
                                18, # 19 Appellant Record Vol. 19, # 20
                                Appellant Record Vol. 20, # 21 Appellant
                                Record Vol. 21, # 22 Appellant Record Vol.
                                22, # 23 Appellant Record Vol. 23, # 24
                                Appellant Record Vol. 24, # 25 Appellant
                                Record Vol. 25, # 26 Appellant Record Vol.
                                26, # 27 Appellant Record Vol. 27, # 28


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                                 Appellant Record Vol. 28, # 29 Appellant
                                 Record Vol. 29, # 30 Appellant Record Vol.
                                 30, # 31 Appellant Record Vol. 31, # 32
                                 Appellant Record Vol. 32, # 33 Appellant
                                 Record Vol. 33, # 34 Appellant Record Vol.
                                 34, # 35 Appellant Record Vol. 35, # 36
                                 Appellant Record Vol. 36, # 37 Appellant
                                 Record Vol. 37, # 38 Appellant Record Vol.
                                 38, # 39 Appellant Record Vol. 39, # 40
                                 Appellant Record Vol. 40, # 41 Appellant
                                 Record Vol. 41, # 42 Appellant Record Vol.
                                 42, # 43 Appellant Record Vol. 43, # 44
                                 Appellant Record Vol. 44, # 45 Appellant
                                 Record Vol. 45, # 46 Appellant Record Vol.
                                 46, # 47 Appellant Record Vol. 47, # 48
                                 Appellant Record Vol. 48, # 49 Appellant
                                 Record Vol. 49, # 50 Appellant Record Vol.
                                 50, # 51 Appellant Record Vol. 51, # 52
                                 Appellant Record Vol. 52, # 53 Appellant
                                 Record Vol. 53, # 54 Appellant Record Vol.
                                 54, # 55 Appellant Record Vol. 55, # 56
                                 Appellant Record Vol. 56, # 57 Appellant
                                 Record Vol. 57, # 58 Appellant Record Vol.
                                 58, # 59 Appellant Record Vol. 59, # 60
                                 Appellant Record Vol. 60, # 61 Appellant
                                 Record Vol. 61, # 62 Appellant Record Vol.
                                 62, # 63 Appellant Record Vol. 63, # 64
                                 Appellant Record Vol. 64, # 65 Appellant
                                 Record Vol. 65, # 66 Appellant Record Vol.
                                 66, # 67 Appellant Record Vol. 67, # 68
                                 Appellant Record Vol. 68, # 69 Appellant
                                 Record Vol. 69, # 70 Appellant Record Vol.
                                 70, # 71 Appellant Record Vol. 71, # 72
                                 Appellant Record Vol. 72, # 73 Appellant
                                 Record Vol. 73, # 74 Appellee Record Vol.
                                 74, # 75 Appellee Record Vol. 75, # 76
                                 Appellee Record Vol. 76, # 77 Appellee
                                 Record Vol. 77, # 78 Appellee Record Vol.
                                 78) (Blanco - TXNB, Juan) (Entered:


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                                  03/15/2022)
    12          32     03/24/22   ELECTRONIC ORDER - Before the Court
                                  is Appellant NexPoint Advisors, L.P.'s
                                  Motion for Leave to File Opening Brief in
                                  Excess of Page and Type-Volume
                                  Limitations of Federal Rule of Bankruptcy
                                  Procedure 8015(a)(7) (the "Motion"). Doc.
                                  No. 30. Having carefully considered the
                                  Motion and the applicable law, and after a
                                  cursory review of the transmitted record
                                  (Doc. No. 31), the Court GRANTS the
                                  Motion. Appellant is granted leave to
                                  exceed the page and type-volume limitations
                                  of Bankruptcy Rule 8015(a)(7) and file an
                                  Opening Brief limited in size to no more
                                  than sixty (60) pages or twenty-six thousand
                                  (26,000) words. (Ordered by Judge Ed
                                  Kinkeade on 3/24/2022) (chmb) (Entered:
                                  03/24/2022)
    13          33     04/14/22   Appellant's BRIEF by NextPoint Advisors
                                  LP. (Schwartz, Samuel) (Entered:
                                  04/14/2022)
    14          34     04/25/22   Unopposed MOTION for Extension of Time
                                  to File Joint Answering Brief, MOTION
                                  (Appellees' Unopposed Motion for
                                  Extension of Length of Joint Answering
                                  Brief and Extension of Time to File Joint
                                  Answering Brief) () filed by FTI Consulting
                                  Inc, Pachulski Stang Ziehl & Jones LLP,
                                  Sidley Austin LLP, Teneo Capital LLC,
                                  Wilmer Cutler Pickering Hale and Dorr LLP
                                  (Attachments: # 1 Proposed Order)Attorney
                                  Zachery Z. Annable added to party
                                  Pachulski Stang Ziehl & Jones LLP (pty:e),
                                  Attorney Zachery Z. Annable added to party
                                  Wilmer Cutler Pickering Hale and Dorr LLP
                                  (pty:e) (Annable, Zachery) (Entered:
                                  04/25/2022)
    15          35     04/25/22   ELECTRONIC ORDER - Before the Court


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                                is Appellees' Unopposed Motion for
                                Extension of Length of Joint Answering
                                Brief and Extension of Time to File Joint
                                Answering Brief (the "Motion") (Doc. No.
                                34). Having carefully considered the Motion
                                and the applicable law, the Court GRANTS
                                the Motion. The deadline for Appellees to
                                file their Joint Answering Brief is extended
                                from May 14, 2022, through and including
                                June 14, 2022. The length of Appellees'
                                Joint Answering Brief is extended pursuant
                                to Bankruptcy Rule 8015(a)(7) to the greater
                                of 40 pages or 17,500 words. The length for
                                any reply brief filed by Appellant to the
                                Joint Answering Brief is extended pursuant
                                to Bankruptcy Rule 8015(a)(7) to the greater
                                of 25 pages or 10,500 words. (Ordered by
                                Judge Ed Kinkeade on 4/25/2022) (chmb)
                                (Entered: 04/25/2022)
    16          37     05/09/22 MEMORANDUM OPINION AND
                                ORDER - Before the Court are Appellees'
                                Joint Motion to Dismiss Appeals as
                                Constitutionally Moot (the "Motion") (Doc.
                                No. 14), Appellant NexPoint Advisors,
                                L.P.'s Opposition to Appellees' Joint Motion
                                to Dismiss Appeals as Constitutionally
                                Moot (the "Response") (Doc. No. 24), and
                                Appellees' Joint Reply to Appellant's
                                Opposition to Motion to Dismiss Appeals as
                                Constitutionally Moot (the "Reply") (Doc.
                                No. 26). Having carefully considered the
                                Motion, the Response, the Reply, the
                                applicable briefs and appendices, and the
                                applicable law, the Court finds Appellant
                                lacks standing to appeal under this circuit"s
                                "person aggrieved" test, and therefore
                                GRANTS Appellees' Motion. (Ordered by
                                Judge Ed Kinkeade on 5/9/2022) (chmb)
                                (Entered: 05/09/2022)


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     17         38     05/09/22 JUDGMENT - This appeal came on for
                                consideration on the briefs. For the reasons
                                stated in the Court's Memorandum Opinion
                                and Order filed today, this appeal is
                                DISMISSED. All pending motions filed in
                                this appeal are terminated. Costs of this
                                appeal are taxed against Appellants pursuant
                                to Fed. R. Bankr. P. 8021(a) or (a)(2).
                                (Entered by R. Jacobson Deputy Clerk on
                                5/9/2022) (chmb) (Entered: 05/09/2022)
     18         39     06/07/22 NOTICE OF APPEAL as to 37
                                Memorandum Opinion and Order,,, 38
                                Judgment, to the Fifth Circuit by NextPoint
                                Advisors LP. Filing fee $505, receipt
                                number 0539-12878590. T.O. form to
                                appellant electronically at Transcript Order
                                Form or US Mail as appropriate. Copy of
                                NOA to be sent US Mail to parties not
                                electronically noticed. IMPORTANT
                                ACTION REQUIRED: Provide an
                                electronic copy of any exhibit you offered
                                during a hearing or trial that was admitted
                                into evidence to the clerk of the district
                                court within 14 days of the date of this
                                notice. Copies must be transmitted as PDF
                                attachments through ECF by all ECF Users
                                or delivered to the clerk on a CD by all non-
                                ECF Users. See detailed instructions here.
                                (Exception: This requirement does not apply
                                to a pro se prisoner litigant.) Please note that
                                if original exhibits are in your possession,
                                you must maintain them through final
                                disposition of the case. (Attachments:
                                # 1 Exhibit(s) A - Memorandum Opinion
                                and Order, # 2 Exhibit(s) B - Judgment)
                                (Schwartz, Samuel) (Entered: 06/07/2022)
     19         40     06/21/22 Transcript Order Form: re 39 Notice of
                                Appeal,,,, transcript not requested
                                Reminder: If the transcript is ordered for an


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                                    appeal, Appellant must also file a copy of
                                    the order form with the appeals court.
                                    (Schwartz, Samuel) (Entered: 06/21/2022)

      3.    Docket Sheet for District Case No. 3:21-cv-03088-K.

      4.    Each of the additional documents and items designated below (as

described in the Docket Sheet for District Case No. 3:21-cv-03088-K):

 Designation Docket
                           Date                     Description
     No.      No.
      20          1      12/10/21 Pursuant to Fed. R. Bankr. P. 8003(d), the
                                  bankruptcy clerk has transmitted the notice
                                  of appeal filed in bankruptcy case number
                                  19-34054 and the notice of appeal has now
                                  been docketed in the district court in case
                                  3:21-cv-3088. (The filing fee has been paid
                                  in the Bankruptcy Court.) Pursuant to Fed.
                                  R. Bankr. P. 8009, before the record on
                                  appeal can be assembled and filed in the
                                  district court, designations of items to be
                                  included in the record on appeal and
                                  statements of issues must be filed in the
                                  bankruptcy case. If a sealed document is
                                  designated, the designating party must file a
                                  motion in the district court case for the
                                  document to be accepted under seal. See
                                  also District Court Local Bankruptcy Rule
                                  8012.1. Unless exempted, attorneys who are
                                  not admitted to practice in the Northern
                                  District of Texas must seek admission
                                  promptly. Forms and Instructions found at
                                  www.txnd.uscourts.gov, or by clicking here:
                                  Attorney Information - Bar Membership. If
                                  admission requirements are not satisfied
                                  within 21 days, the clerk will notify the
                                  presiding judge. (Attachments: # 1 Notice of


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                                   appeal and supporting documents)
                                   (Whitaker - TXNB, Sheniqua) (Entered:
                                   12/10/2021)
     21          4      12/17/21   CERTIFICATE OF INTERESTED
                                   PERSONS/DISCLOSURE STATEMENT
                                   by NextPoint Advisors LP. (Jain, Kristin)
                                   (Entered: 12/17/2021)
     22          7      01/07/22   Motion to Consolidate Appeals and to
                                   Establish Procedures for Consolidation of
                                   the Record on Appeal and Briefing filed by
                                   NextPoint Advisors LP. (Attachments: # 1
                                   Proposed Order Granting Appellant
                                   NexPoint Advisors, L.P.'s Unopposed
                                   Motion to Consolidate Appeals and to
                                   Establish Procedures for Consolidation of
                                   the Record on Appeal and Briefing)
                                   (Schwartz, Samuel) Modified title on
                                   1/10/2022 (ygl). (Entered: 01/07/2022
     23          8      01/11/22   ORDER OF TRANSFER: The above styled
                                   and numbered case is TRANSFERRED to
                                   the docket of the Honorable Ed Kinkeade
                                   for possible consolidation with case number
                                   3:21-CV-3086-K, and shall henceforth carry
                                   the suffix letter K. Judge Brantley Starr no
                                   longer assigned to case. (Ordered by Judge
                                   Brantley Starr on 1/11/2022) (ygl) (Entered:
                                   01/11/2022)
     24          9      01/11/22   ORDER CONSOLIDATING CASES:
                                   Member case(s) 3:21-CV-3088, 3:21-CV-
                                   3094, 3:21-CV-3096, 3:21-CV-3104
                                   consolidated with lead case 3:21-CV-3086-
                                   K. Member case administratively closed
                                   following consolidation. Further docketing
                                   should be in lead case 3:21-CV-3086-K.
                                   (Ordered by Judge Ed Kinkeade on
                                   1/11/2022) (ygl) (Entered: 01/11/2022)

     5.    Docket Sheet for District Case No. 3:21-cv-03094-K.



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      6.    Each of the additional documents and items designated below (as

described in the Docket Sheet for District Case No. 3:21-cv-03094-K):

 Designation Docket
                           Date                     Description
     No.      No.
      25          1      12/10/21 Pursuant to Fed. R. Bankr. P. 8003(d), the
                                  bankruptcy clerk has transmitted the notice
                                  of appeal filed in bankruptcy case number
                                  19-34054 and the notice of appeal has now
                                  been docketed in the district court in case
                                  3:21-cv-3094. (The filing fee has been paid
                                  in the Bankruptcy Court.) Pursuant to Fed.
                                  R. Bankr. P. 8009, before the record on
                                  appeal can be assembled and filed in the
                                  district court, designations of items to be
                                  included in the record on appeal and
                                  statements of issues must be filed in the
                                  bankruptcy case. If a sealed document is
                                  designated, the designating party must file a
                                  motion in the district court case for the
                                  document to be accepted under seal. See
                                  also District Court Local Bankruptcy Rule
                                  8012.1. Unless exempted, attorneys who are
                                  not admitted to practice in the Northern
                                  District of Texas must seek admission
                                  promptly. Forms and Instructions found at
                                  www.txnd.uscourts.gov, or by clicking here:
                                  Attorney Information - Bar Membership. If
                                  admission requirements are not satisfied
                                  within 21 days, the clerk will notify the
                                  presiding judge. (Attachments: # 1 Notice of
                                  appeal and supporting documents)
                                  (Whitaker - TXNB, Sheniqua) (Entered:
                                  12/10/2021)
      26          4      12/17/21 CERTIFICATE OF INTERESTED
                                  PERSONS/DISCLOSURE STATEMENT
                                  by NextPoint Advisors LP. (Jain, Kristin)


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                                    (Entered: 12/17/2021)
      27          10     12/24/21   CERTIFICATE OF INTERESTED
                                    PERSONS/DISCLOSURE STATEMENT
                                    by Teneo Capital LLC identifying Corporate
                                    Parent/Other Affiliate Teneo World Wide
                                    LLC for Teneo Capital LLC. (Hoffman,
                                    Juliana) (Entered: 12/24/2021)
      28          11     01/07/22   Motion to Consolidate Appeals and to
                                    Establish Procedures for Consolidation of
                                    the Record on Appeal and Briefing filed by
                                    NextPoint Advisors LP. (Attachments: # 1
                                    Proposed Order Granting Appellant
                                    NexPoint Advisors, L.P.'s Unopposed
                                    Motion to Consolidate Appeals and to
                                    Establish Procedures for Consolidation of
                                    the Record on Appeal and Briefing)
                                    (Schwartz, Samuel) Modified title on
                                    1/10/2022 (ygl). (Entered: 01/07/2022)
      29          12     01/10/22   ORDER OF TRANSFER: Case reassigned
                                    to Judge Ed Kinkeade for all further
                                    proceedings. Judge Ada Brown no longer
                                    assigned to case. (Ordered by Judge Ada
                                    Brown on 1/10/2022) (mjr) (Entered:
                                    01/11/2022)
      30          13     01/11/22   ORDER CONSOLIDATING CASES:
                                    Member case(s) 3:21-CV-3088, 3:21-CV-
                                    3094, 3:21-CV-3096, 3:21-CV-3104
                                    consolidated with lead case 3:21-CV-3086-
                                    K. Member case administratively closed
                                    following consolidation. Further docketing
                                    should be in lead case 3:21-CV-3086-K.
                                    (Ordered by Judge Ed Kinkeade on
                                    1/11/2022) (ygl) (Entered: 01/11/2022)

      7.    Docket Sheet for District Case No. 3:21-cv-03096-K.

      8.    Each of the additional documents and items designated below (as

described in the Docket Sheet for District Case No. 3:21-cv-03096-K):


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Designation Docket
                         Date                     Description
    No.      No.
     31          1     12/10/21 Pursuant to Fed. R. Bankr. P. 8003(d), the
                                bankruptcy clerk has transmitted the notice
                                of appeal filed in bankruptcy case number
                                19-34054 and the notice of appeal has now
                                been docketed in the district court in case
                                3:21-cv-3096. (The filing fee has been paid
                                in the Bankruptcy Court.) Pursuant to Fed.
                                R. Bankr. P. 8009, before the record on
                                appeal can be assembled and filed in the
                                district court, designations of items to be
                                included in the record on appeal and
                                statements of issues must be filed in the
                                bankruptcy case. If a sealed document is
                                designated, the designating party must file a
                                motion in the district court case for the
                                document to be accepted under seal. See
                                also District Court Local Bankruptcy Rule
                                8012.1. Unless exempted, attorneys who are
                                not admitted to practice in the Northern
                                District of Texas must seek admission
                                promptly. Forms and Instructions found at
                                www.txnd.uscourts.gov, or by clicking here:
                                Attorney Information - Bar Membership. If
                                admission requirements are not satisfied
                                within 21 days, the clerk will notify the
                                presiding judge. (Attachments: # 1 Notice of
                                appeal and supporting documents)
                                (Whitaker - TXNB, Sheniqua) (Entered:
                                12/10/2021)
     32          4     12/17/21 CERTIFICATE OF INTERESTED
                                PERSONS/DISCLOSURE STATEMENT
                                by NextPoint Advisors LP. (Jain, Kristin)
                                (Entered: 12/17/2021)
     33         10     12/24/21 CERTIFICATE OF INTERESTED
                                PERSONS/DISCLOSURE STATEMENT
                                by Sidley Austin LLP. (Hoffman, Juliana)


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                                  (Entered: 12/24/2021)
      34          11     01/07/22 Motion to Consolidate Appeals and to
                                  Establish Procedures for Consolidation of
                                  the Record on Appeal and Briefing filed by
                                  NextPoint Advisors LP. (Attachments: # 1
                                  Proposed Order Granting Appellant
                                  NexPoint Advisors, L.P.'s Unopposed
                                  Motion to Consolidate Appeals and to
                                  Establish Procedures for Consolidation of
                                  the Record on Appeal and Briefing)
                                  (Schwartz, Samuel) Modified title on
                                  1/10/2022 (ygl). (Entered: 01/07/2022)
      35          12     01/11/22 ORDER REASSIGNING CASE. Case
                                  reassigned to Judge Ed Kinkeade for all
                                  further proceedings. Judge Sam A. Lindsay
                                  no longer assigned to case. This case is
                                  hereby transferred to the docket of the
                                  Honorable United States District Judge Ed
                                  Kinkeade for possible consolidation with
                                  four related appeals. Judge Kinkeade will
                                  determine whether the appeals should be
                                  consolidated. (Ordered by Judge Sam A.
                                  Lindsay on 1/11/2022) (ndt) (Entered:
                                  01/11/2022)
      36          13     01/11/22 ORDER CONSOLIDATING CASES:
                                  Member case(s) 3:21-CV-3088, 3:21-CV-
                                  3094, 3:21-CV-3096, 3:21-CV-3104
                                  consolidated with lead case 3:21-CV-3086-
                                  K. Member case administratively closed
                                  following consolidation. Further docketing
                                  should be in lead case 3:21-CV-3086-K.
                                  (Ordered by Judge Ed Kinkeade on
                                  1/11/2022) (ygl) (Entered: 01/11/2022)

      9.    Docket Sheet for District Case No. 3:21-cv-03104-K.

      10.   Each of the additional documents and items designated below (as

described in the Docket Sheet for District Case No. 3:21-cv-03104-K):


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Designation Docket
                         Date                     Description
    No.      No.
     37          1     12/13/21 Pursuant to Fed. R. Bankr. P. 8003(d), the
                                bankruptcy clerk has transmitted the notice
                                of appeal filed in bankruptcy case number
                                19-34054 and the notice of appeal has now
                                been docketed in the district court in case
                                3:21-cv-3104. (The filing fee has been paid
                                in the Bankruptcy Court.) Pursuant to Fed.
                                R. Bankr. P. 8009, before the record on
                                appeal can be assembled and filed in the
                                district court, designations of items to be
                                included in the record on appeal and
                                statements of issues must be filed in the
                                bankruptcy case. If a sealed document is
                                designated, the designating party must file a
                                motion in the district court case for the
                                document to be accepted under seal. See
                                also District Court Local Bankruptcy Rule
                                8012.1. Unless exempted, attorneys who are
                                not admitted to practice in the Northern
                                District of Texas must seek admission
                                promptly. Forms and Instructions found at
                                www.txnd.uscourts.gov, or by clicking here:
                                Attorney Information - Bar Membership. If
                                admission requirements are not satisfied
                                within 21 days, the clerk will notify the
                                presiding judge. (Attachments: # 1 Notice of
                                appeal and supporting documents)
                                (Whitaker - TXNB, Sheniqua) (Entered:
                                12/13/2021)
     38          4     12/17/21 CERTIFICATE OF INTERESTED
                                PERSONS/DISCLOSURE STATEMENT
                                by NextPoint Advisors LP. (Jain, Kristin)
                                (Entered: 12/17/2021)
     39         10     12/24/21 CERTIFICATE OF INTERESTED
                                PERSONS/DISCLOSURE STATEMENT
                                by FTI Consulting Inc identifying Corporate


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                                Parent/Other Affiliate Kayne Anderson
                                Rudnick Investment Management LLC for
                                FTI Consulting Inc. (Hoffman, Juliana)
                                (Entered: 12/24/2021)
      40        11     01/07/22 Motion to Consolidate Appeals and to
                                Establish Procedures for Consolidation of
                                the Record on Appeal and Briefingfiled by
                                NextPoint Advisors LP. (Attachments: # 1
                                Proposed Order Granting Appellant
                                NexPoint Advisors, L.P.'s Unopposed
                                Motion to Consolidate Appeals and to
                                Establish Procedures for Consolidation of
                                the Record on Appeal and Briefing)
                                (Schwartz, Samuel) Modified title on
                                1/10/2022 (ygl). (Entered: 01/07/2022)
      41        12     01/11/22 ORDER REASSIGNING CASE. Case
                                reassigned to Judge Ed Kinkeade for
                                possible consolidation and for all further
                                proceedings. Senior Judge A. Joe Fish no
                                longer assigned to case. (Ordered by Senior
                                Judge A. Joe Fish on 1/11/2022) (ndt)
                                (Entered: 01/11/2022)
      42        13     01/11/22 ORDER CONSOLIDATING CASES:
                                Member case(s) 3:21-CV-3088, 3:21-CV-
                                3094, 3:21-CV-3096, 3:21-CV-3104
                                consolidated with lead case 3:21-CV-3086-
                                K. Member case administratively closed
                                following consolidation. Further docketing
                                should be in lead case 3:21-CV-3086-K.
                                (Ordered by Judge Ed Kinkeade on
                                1/11/2022) (ygl) (Entered: 01/11/2022)

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               STATEMENT OF ISSUES TO BE PRESENTED

      1.     Whether the District Court erred as a matter of law by dismissing

NexPoint’s appeal of the Fee Application Orders2 for lack of standing under the

“person aggrieved” prudential limitation on appellate standing in bankruptcy matters

and determining that NexPoint does not qualify as a “person aggrieved” by the Fee

Application Orders in an instance where (i) NexPoint argued, and no party below

disputed, that NexPoint was being sued for, among other forms of relief, the very

professional fees embodied in the Fee Application Orders in an adversary

proceeding initiated against it and (ii) in the absence of NexPoint’s ability to appeal

the Bankruptcy Court’s Fee Application Orders, the finality of Fee Application

Orders on direct review would give rise to claim preclusive/res judicata effect that

would allow the Fee Application Orders to be asserted offensively against NexPoint

in the underlying adversary proceeding and, thereby, deprive NexPoint of one of its

defenses thereto and the ability to contest the reasonableness of the underlying fees?

      2.     Whether the District Court erred as a matter of law by dismissing

NexPoint’s appeal of the Fee Application Orders for lack of standing under the

“person aggrieved” prudential limitation on appellate standing in bankruptcy matters


2
      Capitalized terms not otherwise defined herein shall have the meaning(s)
ascribed to such terms in the Memorandum Opinion and Order entered by the United
States District Court for the Northern District of Texas, Dallas Division in Civil
Action No. 3:21-cv-03086-K at Docket No. 37.


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and determining that NexPoint does not qualify as a “person aggrieved” by the Fee

Application Orders in an instance wherein NexPoint predicated its standing before

the District Court as that of a creditor and party in interest based on an unpaid

administrative claim entitled to second distribution priority under 11 U.S.C. §§

503(b)(1) and 507(a)(2) of approximately $14 million currently pending before the

Bankruptcy Court based on the District Court’s determination that NexPoint’s

prospects of not being paid on its administrative claim was too remote for NexPoint

to qualify as a “person aggrieved” for purposes of appellate standing under that

standard?

      3.     Whether the District Court erred in applying the “person aggrieved”

standard to dismiss NexPoint’s appeals of the Fee Application Orders in

contravention of the Supreme Court’s decision in Lexmark Int’l, Inc. v. Static

Control Components, Inc., 572 U.S. 118 (2014), and limiting a Congressionally

created cause of action to object to professional fee requests under 11 U.S.C. §§

330(a) and 1109(b) by rejecting NexPoint’s appellate standing under the heightened

prudential bar of the “person aggrieved” standard, rather than measuring NexPoint’s

appellate standing under Article III and the aforementioned statutes, which standards

NexPoint satisfies?

      4.     Whether subjecting NexPoint to the res judicata/claim preclusive

effect(s) of the of the Fee Application Orders while, at the same time, barring


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NexPoint’s ability to challenge the Fee Application Orders on the basis of the

“person aggrieved” prudential limitation on appellate standing ⸻ thereby allowing

Appellees to essentially have it both ways ⸻ amounts to an impermissible violation

of NexPoint’s rights to due process under the Fifth Amendment to the United States

Constitution?


                           [Signature Page to Follow]




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Dated: June 21, 2022.


                                    By: /s/ Kristin H. Jain
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                                         Local Counsel for NexPoint Advisors,
                                         L.P.

                                         - and -

                                         /s/ Samuel A. Schwartz
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                                         Counsel for NexPoint Advisors, L.P.




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on June 21, 2022, a true and correct copy

of the foregoing Appellant NexPoint Advisors, L.P.’s Designation of Items to Be

Included in the Record on Appeal and Statement of Issues to Be Presented was

served electronically via the Court’s ECF system upon all parties of interest

requesting or consenting to such service in this case.


                                              /s/ Samuel A. Schwartz
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